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UNITED STATES DISTRICT COURT ]f_ tip
WESTERN DISTRICT OF TENNESSEE '*‘3 nw l 5 ,i§,?§ 3_- m
Western Division '

UNITED S'I`ATES OF AMERICA

 

-vs- Case No. 2: cr20504-Bre

ANNIE RASH

 

ORDER OF DETENT|ON PEND|NG TR|AL
F| N D|NGS
In accordance With the Bail Reform Act, 18 U.S.C. § 3142(£`), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

ANNIE RASH is committed to the custody of the Attomey General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal ANNIE RASH shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection With a Court proceeding

Date: August 15, 2005 c"\_`

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CR-20504 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listcd.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

